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 July 27, 2021


 Honorable Brian M. Cogan
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

             Re: USA vs Aaron Weinreb 20-CR-006 (BMC)

 Dear Judge Cogan:

       This letter motion is a request that the defendant’s current bail conditions be
 modified prior to his surrender on August 2, 2021. Currently, Defendant is on
 home confinement with limited permission to leave his house for prayer services in
 the morning. I am seeking that his conditions be changed to allow him to visit two
 cemeteries in the New York area
 Friday, July 30th, 12 PM - 4 PM
 Cemeteries: Ohel Chabad, 226-20 Francis Lewis Blvd, Cambria Heights, NY
                and Wellwood Cemetery, 1400 Wellwood Ave, West Babylon, NY

        Mr. Weinreb wishes to visit these cemeteries for the purpose of prayer prior
 to beginning his incarceration.

        If this is acceptable, please so order this request to allow Aaron Weinreb to
 be away from his home from 12 PM – 4 PM on July 30th for the purpose of visiting
 the above locations. This request was previously approved by his pretrial service
 officer.


 Respectfully Submitted.

 Saul Bienenfeld


 cc:         PTSO Amanda Carlson
             AUSA Michael Bushwack
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